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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3054
           v.                        )
                                     )
MARTIN D. LOSBY,                     )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     1. Defendant’s motion for continuance of pretrial motion
deadline, filing 17, is granted and the deadline for filing
pretrial motions is extended to June 12, 2006.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
May 11, 2006 and June 12, 2006 shall be deemed excludable time in
any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).

     DATED this 11th day of May, 2006.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
